                        UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF WISCONSIN
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  UNITED STATES OF AMERICA,

                      Plaintiff,

               v.                               Case No. 17-CR-124

  MARCUS HUTCHINS,

                    Defendant.
______________________________________________________________________________

       UNITED STATES’ UNOPPOSED MOTION REGARDING BRIEFING
                    ON DEFENDANT’S “RENEWED MOTION”
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      The United States of America, by its attorneys, Matthew D. Krueger, United States

Attorney for the Eastern District of Wisconsin, and Assistant U.S. Attorneys Benjamin

Proctor and Benjamin Taibleson, hereby moves the Court to set March 22, 2019, as the

deadline for any response to defendant Marcus Hutchins’ renewed motion to suppress

(Doc. #118), which was filed on February 15, 2019.

      On February 11, 2019, the Court issued an order denying Hutchins’ pretrial

motions to suppress evidence and dismiss counts of the indictment. Doc. #117. On

February 15, 2019, Hutchins’ filed a “Renewed Motion to Suppress.” Doc. #118. The

United States intends to respond in opposition to Hutchins’ “renewed motion.”

      At this time, the parties are discussing whether the case can be resolved short of

trial. To facilitate these discussions and efficiently use time and resources, the United

States requests that it be permitted additional time—until Friday, March 22, 2019—to

respond to Hutchins’ renewed motion. The United States has reviewed the Court’s




           Case 2:17-cr-00124-JPS Filed 03/01/19 Page 1 of 2 Document 121
Amended Trial Scheduling Order, issued earlier today, Doc. #120, and believes that this

request will not interfere with any of the dates and deadlines included in that Order.

      Hutchins’ attorneys were contacted prior to the filing of this motion and they

confirmed that there was no objection to this request.

      Therefore, the United States respectfully requests that the Court set March 22,

2019, as the deadline for the United States’ response to Hutchins’ renewed motion.

      Respectfully submitted, this 1st day of March, 2019.

                                       MATTHEW D. KRUEGER
                                       United States Attorney

                                By:    /s
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                                             2

           Case 2:17-cr-00124-JPS Filed 03/01/19 Page 2 of 2 Document 121
